                                   Case 19-26904                Doc 5   Filed 12/22/19          Page 1 of 2

Information to identify the case:
Debtor 1              james Martin                                                       Social Security number or ITIN   xxx−xx−3862
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Maryland
                                                                                         Date case filed for chapter 7 12/22/19
Case number:          19−26904 DER          Chapter: 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and
information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       james Martin

2.      All other names used in the
        last 8 years

3.     Address                               1700 Bayside Beach Rd
                                             Pasadena, MD 21122

4.     Debtor's attorney                     Tate Russack                                             Contact phone 561−571−9601
       Name and address                      RLC Lawyers & Consultants                                Email: tate@russack.net
                                             7999 N Federal Hwy
                                             Ste 100 A
                                             Boca Raton, FL 33487

5.     Bankruptcy trustee                    Charles R. Goldstein                                     Contact phone (410) 783−6418
       Name and address                      111 S. Calvert Street                                    Email: trustee@3cubed−as.com
                                             Suite 1400
                                             Baltimore, MD 21202
                                                                                                       For more information, see page 2 >
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Debtor james Martin                                                                                                           Case number 19−26904
6. Bankruptcy clerk's office                     Baltimore Division                                                Hours open:
                                                 101 West Lombard Street, Ste. 8530                                8:45 − 4:00 PM
    Documents in this case may be                Baltimore, MD 21201
    filed at this address. You may                                                                                 Contact phone (410) 962−2688
    inspect all records filed in this case Clerk of the Bankruptcy Court:
    at this office or online at            Mark A. Neal                                                            Date: 12/23/19
    www.pacer.gov.

7. Meeting of creditors                                                                                            Location:
                                         January 29, 2020 at 12:00 PM                                              101 W. Lombard Street, Garmatz
    Debtors must attend the meeting to
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later date.                Courthouse, 2nd Fl., #2650, Baltimore,
                                                                                                                   MD 21201
    case, both spouses must attend.      If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.

8. Presumption of abuse                          Insufficient information has been filed to date to permit the clerk to make any
                                                 determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 3/30/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                 Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as exempt.       conclusion of the meeting of creditors
                                                 If you believe that the law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


13. Debtor electronic bankruptcy                 The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices
    noticing                                     and orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request
                                                 form with the Court −− additional information is available under Programs & Services at
                                                 http://www.mdb.uscourts.gov. Other parties (non−debtors) can register at ebn.uscourts.gov.


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